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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
 GRIESING LAW, LLC                              :
 1880 John F. Kennedy Boulevard                 :
 Suite 1800                                     : CIVIL ACTION NO.
 Philadelphia, PA 19103,                        :
                                                :
                Plaintiff,                      :
                                                : JURY TRIAL DEMANDED
        v.                                      :
                                                :
 KLEINBARD LLC                                  :
 Three Logan Square                             :
 1717 Arch Street, 5th Floor                    :
 Philadelphia, PA 19103,                        :
                                                :
                Defendant                       :
                                                :

                               COMPLAINT IN CIVIL ACTION

       This case involves Defendant Kleinbard LLC, a politically connected law firm with strong

ties within the Commonwealth of Pennsylvania (the “Commonwealth”), that convinced Griesing

Law, LLC, a small but highly qualified, certified women-owned and diverse law firm, to support

its attempts to obtain business from the Commonwealth through its Request for Proposal (“RFP”)

process for legal services. Once the bids were won, Kleinbard cut Griesing Law out and lied to

the Commonwealth about Griesing Law’s ability and willingness to do the work. Kleinbard, and

its lawyers, hold themselves out as particularly adept at representing those clients doing business

with or having difficulties with state and local government entities within the Commonwealth.

Kleinbard promotes itself as able to “work with clients proactively to identify potential government

and quasi-government business relationships.” Unfortunately, there is an ugly underbelly

regarding Kleinbard’s work for the Commonwealth that they do not mention in their promotional

materials. Kleinbard discriminates against small, woman-owned, diverse businesses in violation


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its contracts with the Commonwealth. Kleinbard actively and repeatedly recruited Griesing Law

to serve as its small diverse business contractor under Commonwealth RFPs and contracts for legal

services but never intended to honor its contractual commitments to share the work, the experience

and the revenue with Griesing Law, and never intended to abide by the Commonwealth’s

contractual non-discrimination provisions nor its required integrity policies.       Rather, once

Kleinbard won the bids from the Commonwealth based on Griesing Law’s involvement, Kleinbard

knowingly concealed from Griesing Law the execution of various Commonwealth contracts for

legal services, the assignment of work deriving from those contracts, and intentionally misled the

Commonwealth as to Griesing Law’s readiness, willingness and ability to provide legal services.

Kleinbard’s actions were specifically designed to discriminate against Griesing Law, as a women-

owned because, just because it could.

       Kleinbard breached its contracts with Griesing Law, breached its contracts with the

Commonwealth to which Griesing Law is an intended third party beneficiary, tortiously interfered

with Griesing Law’s existing and prospective contractual relationships with the Commonwealth,

and fraudulently and negligently misrepresented and/or omitted material facts. All of this was

done by Kleinbard to impermissibly induce Griesing Law to repeatedly agree to serve as

Kleinbard’s small diverse business subcontractor (a requirement by the Commonwealth to be

eligible to participate in the RFP process) and to cover up work assigned to and performed by

Kleinbard in which Griesing Law was entitled to participate and to be compensated.

                                           PARTIES

       1.      Plaintiff, Griesing Law, LLC (“Griesing Law”), is a law firm operating as a single

member limited liability company organized under the laws of the Commonwealth, with its

principal place of business at 1880 John F. Kennedy Blvd., Suite 1800, Philadelphia, Pennsylvania




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19103. The sole member of Griesing Law is Francine Friedman Griesing, Esq., who is a citizen

of, and domiciled in, the State of Florida. She does not maintain a residence in Pennsylvania.

        2.      Defendant Kleinbard LLC (“Kleinbard”) is a law firm operating as a limited

liability company organized under the laws of the Commonwealth, with its principal place of

business at Three Logan Square, 1717 Arch St., 5th Floor, Philadelphia, Pennsylvania 19103.

Upon information and belief, none of the equity members of Kleinbard are citizens of, or domiciled

in, Florida.

                                 JURISDICTION AND VENUE

        3.      This Court has original jurisdiction over the instant action pursuant to 28 U.S.C. §

1332(a)(1) because this matter involves a controversy between citizens of different states and the

amount in dispute exceeds $75,000.00.

        4.      This Court has supplemental jurisdiction over any Pennsylvania state law claims

pursuant to 28 U.S.C. § 1367.

        5.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §

1391(b)(1) because Kleinbard resides in the Eastern District of Pennsylvania and Griesing Law’s

principal place of business is in the Eastern District of Pennsylvania.

        6.      Alternatively, venue is proper in the Eastern District of Pennsylvania pursuant to

28 U.S.C. § 1391(b)(2) because a substantial part of the events and/or omissions giving rise to this

action occurred in the Eastern District of Pennsylvania.

        7.      Kleinbard is subject to general personal jurisdiction in the Commonwealth of

Pennsylvania.




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                                         BACKGROUND

          The Commonwealth’s Procedures for Procurement of Goods and Services

         8.      The Commonwealth routinely contracts for the provision of goods and services for

the Commonwealth using a range of procedures including Requests for Qualifications, Requests

for Proposals and sole sourcing through its supplier diversity process.

         9.      Recognizing that certain types of businesses were historically underrepresented in

the roster of businesses contracted by the Commonwealth for goods and services, on September

23, 2015, Governor Tom Wolf issued Executive Order 2015-11 (the “Executive Order”), which

among other things, created initiatives to support and advance small diverse businesses,

established the Bureau of Diversity, Inclusion and Small Business Opportunity (“BDISBO”),

which operates as part of the Commonwealth Department of General Services (“DGS”), and

created an Advisory Council on Diversity, Inclusion and Small Business Opportunities (the

“Council”), and according to the BDISBO website “charged the Council with making

recommendations for transformative changes to the Commonwealth’s procurement protocols.”

         10.     BDISBO’s website states: “Our primary mission is to actively, equitably and

successfully engage small, disadvantaged and minority businesses in the Commonwealth’s public

procurement process as one of the ways to fuel our economy” and “[w]hether it involves the areas

of compliance, certification/verification, policy, technical assistance or outreach and education,

the BDISBO team stands ready to make your experience with the Commonwealth a positive and

productive one.” Department of General Services, Bureau of Diversity, Inclusion, and Small

Business Opportunity, https://www.dgs.pa.gov/bdisbo/Pages/default.aspx (last visited Aug. 12,

2022).




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         11.   The Commonwealth’s website also states that the Vision of the agency is:

“BDISBO facilitates an open, inclusive and accessible business environment where small

businesses can develop or expand their competency, capacity and footprint in the Commonwealth

marketplace.” Id.

         12.   The Council, which has three subcommittees – Inclusion & Certification, Program

Goals & Metrics, and Training and Workplace Development, conducted a review of the

Commonwealth’s procurement protocols and made recommendations for expanding the

participation of small and small diverse businesses in Commonwealth procurement.

         13.   Governor Wolf also appointed an Advisory Board to BDISBO comprised of The

Secretaries of DGS and, the Department of Transportation (“PENNDOT”), Community and

Economic Development (“DCNR”) and Labor & Industry (“L&I”), as well as a roster of

geographically diverse private sector members. One of the original members of the Council

appointed by Governor Wolf, and upon information and belief remains on the Council, is George

Burrell (“Burrell”), Of Counsel at Kleinbard and a member of Kleinbard’s Government Relations

Group.

         14.   As part of its work, BDISBO in conjunction with the Council’s input, created

protocols to ensure that the RFP process include requirements that provided small diverse owned

businesses, including woman and minority owned businesses, opportunities (i) to gain access to

serve as prime contractors 1 for Commonwealth goods and services; and (ii) to serve as

subcontractors to prime contractors for Commonwealth goods and services so that the diverse

owned firms could share in the financial benefits of the prime contracts and also gain experience



1
  A prime contractor is also known as the offeror and is the main party responsible for ensuring
technical compliance with the RFP requirements and has primary responsibility for the delegation
of work to any small diverse subcontractor(s).


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to enhance the small diverse firm’s qualifications to serve as prime contractors under future

Commonwealth contracts.

        15.      Under the Executive Order, BDISBO is also responsible for the Commonwealth’s

Small Diverse Business (“SDB”) Program, which “encourage[s] and ensure[s] open and equitable

contracting practices are used by prime contractors in soliciting and contracting with small diverse

… businesses during the Request for Proposal (RFP) process.” Department of General Services,

Small             Diverse         Business           Program            for          Procurement,

https://www.dgs.pa.gov/Small%20Diverse%20Business%20Program/Small-Diverse-Business-

Procurement/Pages/default.aspx (last accessed Aug. 12, 2022).

        16.      BDISBO has several other responsibilities with respect to the SDB Program

including Compliance. As BDISBO recognizes, “[o]ne of BDISBO’s most important functions is

to monitor the actions of program participants to ensure that they are honoring contractual

commitments. Therefore, it is not lost upon [BDISBO] that any aspirational goals advanced the

[NDOSBO] cannot be realized without some semblance of oversight and accountability.”

        17.      The Governor’s Office of General Counsel (“OGC”) participated in the RFP

processes establishing detailed procedures for responding to OGC RFPs for legal services. This

process included scoring RFP applicant firms on the basis of technical skills, cost and diversity

(including the percentage of the prime contractor’s contractual commitment to a certified small

diverse business as subcontractor).     If an RFP applicant firm did not meet the diversity

requirements, it was almost impossible that they would be awarded the RFP contract from OGC.

        18.       Commonwealth then-General Counsel, Denise Smyler, contacted Griesing Law

Managing Member Francine Friedman Griesing directly requesting that Griesing Law apply for

the approved list of certified diverse owned legal service providers as “a favor” to the Office of




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General Counsel (“OGC”) because there were a limited number of qualified woman or diverse

owned providers and certain majority owned firms were specifically requesting of the OGC that

Griesing Law be accepted as their diverse subcontractor for legal work through the new RFP

process. Griesing Law was thereafter approved as a small diverse owned business eligible to apply

to be appointed for legal services as a prime contractor or as a subcontractor to another prime

contractor.

       19.     Since the issuance of the Governor’s Executive Order, Griesing Law has been

appointed as either a prime contractor, a subcontractor or both pursuant to several OGC RFPs and

expects to receive additional appointments in the future.

      20.      The Commonwealth requirements for prime contractors to commit to a minimum

utilization of woman and diverse owned firms have been modified over time to assure that diverse

firms receive their fair share of the work.      One recurring issue was the lack of notice to

subcontractors, such as Griesing Law, when an RFP was awarded to a prime firm authorizing the

OGC to enter contracts with the selected primes. OGC then began to also give notice to

subcontractors to which prime applicants had contractually committed a minimum percentage of

the work and fees to assure primes did not withhold work from their diverse subcontractors.

Department of General Services, supra ¶ 10.

      21.      However, that notice alone has not solved the problem of subcontractors such as

Griesing Law being cut out of work by primes because if work is actually awarded to the prime

following the RFP selection process, the subcontractor is not notified directly. Only and unless the

prime informs them, the subcontractor is unaware work was assigned which they are entitled to

perform and for which they are entitled to be paid.




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      22.      To further tackle this issue of primes failing to honor their commitment to share a

certain percentage of work with their small diverse business subcontractors, BDISBO

implemented PRiSM Compliance Management on or about September 3, 2019. The

Commonwealth launched the PRiSM system to, among other things, track whether prime

contractors fulfilled their commitments to SDB subcontractors.

      23.      The PRiSM system was intended to require prime contractors to report quarterly

the fees they received from the Commonwealth and the fees they paid to their SDB contractors

and requiring SDB subcontractors to confirm amounts received from the primes. Unfortunately,

the PRiSM system is not accurate and/or up-to-date so subcontractors, such as Griesing Law,

cannot rely on it to ascertain whether they are being shut out by primes.

      24.      The RFP process was also modified to require the prime and subcontractor include,

as part of the RFP submission, the Commonwealth’s Appendix G Small Diverse and Small

Business Letter of Intent (“Letter of Intent”) setting out the agreement between them as to the

percentage of work to be performed by the subcontractor and the attendant fees to be paid to the

subcontractor. In the absence of an executed Letter of Intent with a small diverse business in the

RFP submission, the prime must explain its efforts to secure a diverse subcontractor and why it

was unable to do so. The lack of a small diverse business subcontractor can bar a prime from being

awarded a contract. These protocols were implemented specifically to protect small diverse

subcontractors from primes that do not inform subcontractors of awarded work, do not pay them

as agreed, or otherwise do not honor the Letters of Intent.

       25.     Despite these requirements intended to protect small diverse subcontractors such as

Griesing Law—which the BDISBO promulgated based on the guidance from the Council on which

Kleinbard lawyer Burrell served and upon information and belief continues to serve—Kleinbard




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time and again engaged in a premediated scheme to recruit Griesing Law as a SDB subcontractor

for OGC RFPs without intending to actually afford Griesing Law the opportunity to perform the

work to gain the additional experience or the compensation to which the Griesing Law was entitled.

Instead, Kleinbard engaged in a further scheme to conceal from Griesing Law work awarded to it

under OGC RFPs in which Griesing Law was the designated subcontractor, and to intentionally

and repeatedly mislead Griesing Law by failing to disclose that work was performed, by

contending that the work was paused or that when it resumed Kleinbard would assure that Griesing

Law had the opportunity to participate at the contractually mandated amount.

       26.     Further, the assurances by Kleinbard were made to Griesing Law principally by

BDISBO Council member and Kleinbard lawyer Burrell. Plainly, from his prior legal experience,

as explained more fully below, and his role on the BDISBO Council, Burrell understood

Kleinbard’s obligations to the Commonwealth and to Griesing Law and deliberately flouted them.

       27.     Notably, without soliciting the participation from a small diverse subcontractor

such as Griesing Law, Kleinbard would not have been awarded any of the contracts under the

Commonwealth program.

 Kleinbard Advertises its Expertise in Doing Business, and Having Relationships with, the
 Commonwealth and Elected Officials While Fraudulently Inducing the Commonwealth
          and SDB Griesing Law to Enter Contracts Intending to Breach Them

       28.     Kleinbard is a 35-plus attorney law firm based in Philadelphia, which holds itself

out as unique in its expertise and relationships to benefit clients either seeking to do business with

the Commonwealth or adverse to the Commonwealth, particularly touting its own representation

of elected officials across Pennsylvania.




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       29.     On the Kleinbard website homepage, it lists the following nine practice areas:

Business & Finance, Employment, Government Relations, Intellectual Property, Litigation,

Political Law, Real Estate & Finance, Taxation and Trusts & Estates. Of particular relevance to

the matters at issue in this case are Government Relations and Political Law.

       30.     When you turn to the Kleinbard Government Relations webpage, it states that: “Due

to our familiarity with the decision makers and their operations, we are able to assist clients by

maximizing their chances of success through specific processes, whether it be requests for

qualifications, requests for proposals, or negotiated contracts.”

       31.     That same page identifies Kleinbard Attorney Hyman as Practice Leader, and

identifies five “Related Practices”: Business Development, Lobbying, White Collar Litigation &

Government Investigations, Legislative Monitoring & Analysis, and Political Law.

       32.     Kleinbard Attorney Hyman appears to be well qualified to lead the Government

Relations Practice Group, as well as the Business Development, Lobbying, and Legislative

Monitoring & Analysis Practice areas, which he also leads for Kleinbard, having over 40 years of

legal experience, including previously serving as a Kleinbard Managing Partner from 2004-2017.

       33.     In publicizing Hyman’s qualifications, the Kleinbard website states in part:

               David provides representation to a broad range of clients in matters where state
               and/or government presents an obstacle or an opportunity. On a daily basis, he
               interacts with elected and appointed officials in Philadelphia, the region and
               Harrisburg.
                   ***
               Throughout his career, David has developed strong ties with state and local officials
               and has a deep understanding of their priorities and approaches to public affairs.


       34.     Hyman also leads the Business Development Group at Kleinbard. The Kleinbard

website describes that practice as follows:




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                 We work with clients proactively to identify potential government and quasi-
                 government business relationships. In some instances, this requires educating
                 public sector entities about services that might benefit them. Due to our familiarity
                 with the decision makers and their operations, we are able to assist clients by
                 maximizing their chances of success through specific processes, whether it be
                 requests for qualifications, requests for proposals, or negotiated contracts.
                 Supported by strategic planning, our clients are best positioned to take advantage
                 of the “right” opportunities when they arise. (Emphasis added.)

       35.       Burrell, also a senior member of the Government Relations Practice Group at

Kleinbard and BDISBO Council member, is a former member of Philadelphia City Council, and

served in high ranking positions for two Mayors of Philadelphia. According to the Kleinbard

website, “George’s work with two African-American-owned businesses with national reputations

has positioned him to understand the unique challenges faced by minority- and women-owned

companies.”

       36.       Notably, Kleinbard is touting that it represents clients in obtaining business from

the Commonwealth and that it has experience with the RFP and contracting process. Given the

Executive Order and BDISBO’s SDB mandates, both Hyman and Burrell understand the

contractual obligations owed by a prime contractor to a SDB subcontractor under Commonwealth

contracts.

       37.       Kleinbard’s webpage highlighting its Political Law Practice, is led by Matthew H.

Haverstick, Kleinbard Managing Partner, Litigation, also reflects Kleinbard’s experience in

government matters and relationships with government officials. According to the Kleinbard

website:

                 Referred to in media reports as “counsel of choice for state Republicans in a number
                 of recent policy fights” for his work on matters that garner national press attention,
                 Matt has a strong understanding of local, state, and federal governments, their
                 stakeholders, and the media.




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       38.      The Political Law Practice, working in tandem with the Government Relations

Practice, includes:


            Our clients range from government officials and corporations engaged in the political
            process, to candidates and individuals seeking to comply with regulatory requirements.
            Our lawyers have a unique understanding of the intersection of legal compliance and
            practical reality. We work with our political and government clients to craft
            commonsense solutions, navigate the law and deliver results.

               ***

            We serve public officials and governmental employees throughout the lifecycle of
            their political careers. . . .

       39.      The White Collar Criminal Defense & Government Investigations Practice Group

at Kleinbard also led by Haverstick, touts its government expertise and relationships with top

officials in Harrisburg. For example, according to the webpage for that practice area:


            On a daily basis, our attorneys interact with elected and appointed officials in
            Pennsylvania. Through our relationships with government officials, we have
            developed an understanding of policy politics and process. . . .

            Kleinbard has developed deep connections with governing bodies, including the
            Pennsylvania State Treasurer and the State Senate Republican Caucus, and regularly
            advise clients on public policy matters. … In addition we regularly provide guidance
            on ethics compliance and on developments in, and changes to, the Right-to-Know Law
            and its continually evolving body of caselaw. . . .

       40.      The connections between Kleinbard and the Pennsylvania State Treasurer (the

“Treasurer” are notable. According to the Pennsylvania Treasury e-Marketplace website, between

2016-2020, Kleinbard was approved for legal and litigation services to the Department for fees

totaling nearly $1.4 million. Notably, the contracts do not specify that any of those fees were

earmarked for SDB subcontractors, but the contract documents reflect that Kleinbard was bound

by nondiscrimination and integrity provisions, that were not limited to conduct under the specific

contract.


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          41.   The contract documents between the Treasurer and Kleinbard provide among other

things:

                Nondiscrimination Clause
                During the term of this contract, the Contractor agrees as follows:
                           1. Contractor shall not discriminate against any … independent
                               contractor, or any other person because of … sex.
                                                       ***
                 Contractor Integrity Clause
                           2. The contractor shall maintain the highest standards of integrity in
                               the performance of this agreement and shall take no action in
                               violation of state or federal laws, regulations, or other requirements
                               that govern contracting in the Commonwealth.


          42.   During the term of the Kleinbard contracts with the Treasury Department from

2016- 2020, Kleinbard discriminated against Griesing Law as its SDB subcontractor on the basis

of sex and in breach of its Commonwealth contracting obligations and did not act with the highest

standards of integrity.

          43.   Indeed, the Kleinbard website is replete with examples of the team’s experience

and relationships with elected and appointed officials in Harrisburg and across Pennsylvania and

how they employ those relationships to enhance client opportunities. Kleinbard deployed their

stated deep expertise and extensive relationships, to devise a scheme to defraud the

Commonwealth and to defraud Griesing Law as its SDB subcontractor as described in this

Complaint.

           Kleinbard Repeatedly Recruits Griesing Law as its Diverse Subcontractor

          44.   During the period from July 2015 through the filing of this action, Griesing Law

agreed to serve as Kleinbard’s SDB subcontractor on at least eight separate RFPs and the parties

executed Letters of Intent which Kleinbard included in its RFP submissions to the Commonwealth.

Although Kleinbard has been awarded significant work pursuant to contracts issued under RFPs




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in which Griesing Law was the designated SDB subcontractor, Kleinbard has almost exclusively

excluded Griesing Law from participating in the work or sharing in the fees.

        45.    Instead, Kleinbard engaged in a scheme to conceal from Griesing Law that work

had been assigned to Kleinbard and that Kleinbard had collected substantial fees without sharing

the work or fees with Griesing Law. This deprived Griesing Law of the opportunity to develop or

expand its experience and to collect the fees to which it was entitled.

        46.    On or about July 10, 2015, and again on or about July 14, 2015, Griesing Law

Managing Member Francine Griesing and Kleinbard Practice Leader, Government Relations,

David L Hyman and Steven J. Engelmyer, partner and former chair of Kleinbard’s Litigation

Department, had multiple conversations about the two firms working together in a

subcontractor/prime relationship, respectively, for the Commonwealth.

        47.    Griesing Law and Kleinbard first intended to work together on RFP OLRSF-2015-

1 for Insurance Receivership Counsel. The two firms mutually signed a Letter of Intent dated July

18, 2015 that stated in relevant part:

               If Kleinbard, LLC is the successful vendor, Griesing Law, LLC shall
               provide litigation and transactions legal services as needed....

               These services shall represent 20% of the total cost of Kleinbard, LLC’s
               cost submittal. . . and it is expected that Griesing Law, LLC could receive
               an estimated $123,750 based on Kleinbard LLC’s cost submittal.

A true and copy of the Letter of Intent, to the Kleinbard submission is response to RFP OLRSF-

2015-1 is attached hereto as Exhibit “A” and incorporated by reference as fully set forth herein. 2

        48.    However, the Commonwealth ultimately cancelled that RFP on or about August 5,

2015.


2
 The exhibits to this Complaint have been redacted to remove information that is not otherwise
publicly available.


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       49.       On or about August 20, 2015, Kleinbard Attorney Hyman called and emailed

Griesing Law about working together on the Commonwealth’s RFP relating to Reliance Insurance

Company. Kleinbard and Griesing Law submitted together to work on this RFP, however, on or

about December 15, 2015, Kleinbard learned that it had not been selected by the Commonwealth.

       50.       On or about September 15, 2015, Kleinbard again contacted Griesing Law to serve

as Kleinbard’s subcontractor in connection with Commonwealth RFP OGC-2015-39 related to

First Sealord Surety. Kleinbard and Griesing entered a Letter of Intent, dated September 15, 2015,

following the Commonwealth OGC form as required, whereby Kleinbard committed, in part, to

the following:

                 If Kleinbard LLC is the successful vendor, Griesing Law, LLC shall provide
                 litigation and transactions legal services as needed...

                 These services represent 20% of the total cost in Kleinbard LLC’s cost
                 submittal for the initial term of the contract. Dependent on final negotiated
                 contract pricing and actual contract usage or volume, it is expected that
                 Griesing Law, LCC could receive an estimated $59,125.00 during the initial
                 contract term.

A true and copy of the Letter of Intent, to the Kleinbard submission is response to RFP OGC-2015-

39 is attached hereto as Exhibit “B” and incorporated by reference as fully set forth herein.

       51.       On or about June 1, 2016, Kleinbard Attorney Hyman emailed Griesing Law

Managing Member Francine Griesing to again partner with them on another Commonwealth RFP

and for Griesing Law to serve as Kleinbard’s subcontractor in connection with Commonwealth

RFP OGC-2016-09 for Complex Litigation & Litigation Consultants. Kleinbard and Griesing

entered a Letter of Intent, dated June 21, 2016, following the Commonwealth OGC form as

required, whereby Kleinbard committed, in part, to the following:




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                If Kleinbard is the successful vendor, Griesing Law, LLC shall provide
                complex litigation and litigation consulting services …

                These services represent 20% of the total cost in Kleinbard LLC’s cost
                submittal of the initial term of the contract … it is expected that Griesing
                Law, LLC will receive an estimated 20% of the billable work during the
                initial contract term.

A true and copy of the Letter of Intent, to the Kleinbard submission is response to RFP OGC-2016-

09 is attached hereto as Exhibit “C” and incorporated by reference as fully set forth herein.


        52.     On or about August 2, 2016, Kleinbard again contacted Griesing Law to serve as

Kleinbard’s subcontractor in connection with Commonwealth RFP OGC-2016-16 related to

Insurance Receivership Counsel Legal Services. Kleinbard and Griesing entered a Letter of Intent,

dated August 10, 2016, following the Commonwealth OGC form as required, whereby Kleinbard

committed, in part, to the following:

                If Kleinbard is the successful vendor, Griesing Law, LLC shall provide
                support legal services to Kleinbard’s insurance receivership team…

                These services represent 20% of the total cost in Kleinbard LLC’s cost
                submittal of the initial term of the contract … it is expected that Griesing
                Law, LLC will receive an estimated $52,750.00 during the initial
                contract term. (Emphasis added.)

A true and copy of the Letter of Intent, to the Kleinbard submission is response to RFP OGC-2016-

16 is attached hereto as Exhibit “D” and incorporated by reference as fully set forth herein.

        53.     On or about November 14, 2016, OCG informed Kleinbard, with a copy to Griesing

Law, that Kleinbard had been appointed to be eligible for work under OGC-2016-09. The

appointment letter stated in part that “It is understood that you will be subcontracting with Griesing

Law, LLC throughout the timeframe of any engagement.” A true and copy of the November 14,

2016 Appointment Letter for OGC-2016-09 is attached hereto as Exhibit “E” and incorporated by

reference as fully set forth herein.



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          54.   On or about November 22, 2016, Kleinbard contacted Griesing Law to serve as

Kleinbard’s subcontractor in connection with Commonwealth RFP OGC-2016-22 General

Litigation & Emergency Council. Kleinbard and Griesing entered a Letter of Intent, dated

November 22, 2016, following the Commonwealth OGC form as required, whereby Kleinbard

committed, in part, to the following:

            If Kleinbard is the successful vendor, Griesing Law, LLC shall provide general
            litigation and emergency counsel support services. . . .These services represent 20% of
            the total cost in Kleinbard LLC’s cost submittal of the initial term of the contract … it
            is expected that Griesing Law, LLC will receive an estimated $52,750.00 during the
            initial contract term. (Emphasis added.).


A true and copy of the Letter of Intent, Appendix G to the Kleinbard submission is response to

RFP OGC-2016-22 is attached hereto as Exhibit “F” and incorporated by reference as fully set

forth herein.

          55.   On or about May 3, 2017, OCG informed Kleinbard, with a copy to Griesing Law,

that Kleinbard had been appointed to be eligible for work under OGC-2016-22. The OGC

considered the Letter of Intent in appointing Kleinbard as a firm eligible to provide legal services

under the RFP. Appointment alone under the RFP process does not guarantee that work will be

assigned to the prevailing firm(s). A true and copy of the May 3, 2017 Appointment Letter for

OGC-2016-22 is attached hereto as Exhibit “G” and incorporated by reference as fully set forth

herein.

          56.   By email dated August 1, 2019, Kleinbard Attorney Burrell emailed Griesing Law

Managing Member Francine Griesing stating that Kleinbard was “renewing our complex litigation

response to the commonwealth which is due in about two weeks….This is to confirm your

continued participation as co-counsel in our response.” Shortly thereafter, Kleinbard sent Griesing

Law a Letter of Intent related to Commonwealth OGC-2019-10 which stated that Griesing Law



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would receive 20% of any awarded work. A true and copy of the August 8, 2019 Letter of Intent

for OGC-2019-10 is attached hereto as Exhibit “H” and incorporated by reference as fully set forth

herein.

          57.   On or about December 11, 2019, OCG informed Kleinbard, with a copy to Griesing

Law, that Kleinbard had been appointed to be eligible for work under OGC-2019-10/13. The

appointment letter stated in part that “It is understood that you will be subcontracting with Griesing

Law, LLC throughout the duration of this engagement.” A true and copy of the December 11,

2019 Appointment Letter for OGC-2019-10/13 is attached hereto as Exhibit “I” and incorporated

by reference as fully set forth herein.

          58.   In early 2020, Kleinbard again sought Griesing Law as its diverse subcontractor on

another Commonwealth RFP for the Pennsylvania Insurance Department. On or about February

12, 2020, Kleinbard sent Griesing Law a Letter of Intent related to Commonwealth OGC-2020-01

which stated in part:

            If Offeror is the successful vendor . . . Griesing Law, LLC shall provide supporting
            legal services to Kleinbard’s insurance receivership team.

            These services represent 20% of the total cost in Kleinbard LLC’s cost submittal of the
            initial term of the contract . . . it is expected that Griesing Law, LLC will receive an
            estimated $52,150.00 during the initial contract term. (Emphasis added.)

A true and copy of the February 12, 2020 Letter of Intent for OGC-2029-01 is attached hereto as

Exhibit “J” and incorporated by reference as fully set forth herein.




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               Kleinbard Defrauds Griesing Law by Concealing Awarded Work
                                 Under RFP OGC-2016-22

        59.     When OGC does assign work to a prevailing firm under an RFP, OGC only notifies

the prime firm, such as Kleinbard, but does not notify the subcontractor, such as Griesing Law. If

the prime firm does not notify the subcontractor, the subcontractor is not aware that work has been

assigned.

        60.     The PRiSM system for monitoring payments to subcontractors to assure

compliance was not in place in 2017 when OGC-2016-09 or OGC-2016-22 were awarded or

during the initial years when Kleinbard performed work for the Commonwealth and therefore was

not available for Griesing Law to use as a resource.

        61.     The standard OGC Contract for legal services requires that the prime contractor

and the subcontractor abide by nondiscrimination provisions and by integrity provisions. As

explained below, Kleinbard breached its obligations to the Commonwealth and to Griesing Law

under the SDB commitment, nondiscrimination and integrity provisions of their contracts with the

Commonwealth and subcontracts with Griesing Law as its SDB. Kleinbard acknowledged and

agreed to be contractually obligated to these nondiscrimination and integrity provisions no less

than eight (8) times.

        62.     At some point after OCG-2016-22 was awarded in May 2017, the OGC assigned

legal work to Kleinbard thereunder for an important project under Contract OGC-2017-GLE-22

(the “OGC Kleinbard Contract”). 3 The OCG Kleinbard Contract expressly required that Kleinbard

honor its subcontract with Griesing Law and assure that Griesing Law had the opportunity to

perform at the designated percentage identified in the Letter of Intent.



3
  To protect client confidentiality, the legal work assigned under the OGC Kleinbard Contract is referred
to herein as the “OGC Kleinbard Project.”


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        63.      Kleinbard did not notify Griesing that it had entered the OGC Kleinbard Contract

when it occurred nor was Griesing Law provided a copy of the contract until it requested it from

OGC in August 2022.

        64.      After Kleinbard had begun work on the OGC Kleinbard Project, on or about

October 2, 2018, Kleinbard invited Griesing Law to meet at Kleinbard’s offices to discuss the

OGC Kleinbard Project.

        65.      At that initial meeting on October 31, 2018, Griesing Law learned that Kleinbard

had been providing legal services pursuant to the OGC Kleinbard Contract for some time.

        66.      Griesing Law also learned directly from BDISBO Council member and Kleinbard

attorney Burrell that “the client” wanted to be sure that the use of two law firms did not increase

the legal expenses on the OGC Kleinbard Contract.

        67.      During that October 31, 2018 meeting, Burrell repeatedly told the Griesing Law

team that he had a “close relationship with the Governor,” that he was meeting regularly with top

level Commonwealth officials, and that he would discuss with them Griesing Law’s role in

providing legal services under the OGC Kleinbard Contract and report back.

        68.      Thereafter, Kleinbard assigned Griesing Law a modest amount of work but did not

permit Griesing Law to submit an invoice for the work.

        69.      Griesing Law regularly followed up with Kleinbard expressing readiness,

willingness and ability to continue to work on the OGC Kleinbard Project consistent with the Letter

of Intent.

        70.      Kleinbard engaged in a scheme to deprive Griesing Law of the promised share of

the legal services and fees under the Letter of Intent and the OGC Kleinbard Contract as required

by Commonwealth RFP OGC-2016-22.




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       71.     In order to determine whether it has the opportunity to perform its share of work

assigned to prime contractor law firms by the OGC, Griesing Law routinely contacted BDISBO

because the information was not always posted on PRiSM. Griesing Law usually communicated

with BDISBO Equal Opportunity Manager, Curtis Burwell.

       72.     In early April 2019, Griesing Law contacted Burwell to inquire about OGC-2016-

22. Griesing Law was informed that Burwell would look into the status of this RFP and any

assigned work. Griesing Law followed up several times over the next two months with Burwell.

       73.     On June 17, 2019, Burwell confirmed that Kleinbard had been paid for work on

OGC-2016-22. In response, Griesing Law sought assistance from Burwell on our ability to submit

for the work we performed in late 2018/early 2019 since Kleinbard never gave Griesing Law

authority to submit an invoice for such work.

       74.     At Burwell’s suggestion, Griesing Law again contacted Kleinbard about OGC-

2019-22 but was again told to hold off on submitting any invoice. Griesing Law then again

solicited the help of Burwell and on or about July 10, 2019, Burwell informed Griesing Law that

he had reached out to Kleinbard and was awaiting a response.

       75.     After Burwell reached out to Kleinbard, Kleinbard contacted Griesing Law to

inform us that we could submit our invoice for the work performed in late 2018/early 2019.

Kleinbard paid Griesing Law on or about September 17, 2019 in the amount of $4,314.68, of which

$4,305 constituted legal fees.

       76.     At some point during this period, Burwell contacted Griesing Law to confirm

whether the Firm had declined to provide services on the OGC Kleinbard Project, informing

Griesing Law that Kleinbard had told him that Griesing Law was unable or unwilling to perform.

Griesing Law told Burwell that was false and that Griesing Law had repeatedly followed up with




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Kleinbard to be given the opportunity to perform its share of the work on the OGC Kleinbard

Project.

        77.    Burwell told Griesing Law that he would inquire further and follow up with us.

Thereafter, Burwell informed Griesing Law, and has since reiterated several times, that under SDB

subcontracts, the prime did not have to allocate the contracted percentage of work or fees evenly

over the course of the prime contract. Burwell further stated that primes such as Kleinbard only

had to assure that by the time the contract was completed, the SDB subcontractor had been afforded

the opportunity to perform its contracted percentage and the SDB subcontractor be paid at least its

minimum guaranteed percentage of fees or more commensurate with the work performed.

        78.    Burwell informed Griesing Law that Kleinbard had assured BDISBO that

Kleinbard would honor its contractual obligations to Griesing Law as to the OGC Kleinbard

Contract and that Kleinbard would assure that Griesing Law was given the opportunity to

participate in the legal services and receive the minimum guaranteed fees as mandated by the Letter

of Intent and the OGC Kleinbard Contract.

        79.    On or about August 7, 2019, Kleinbard lawyer Burrell invited Griesing Law to

attend an August 22nd client meeting in Harrisburg regarding the OGC Kleinbard Project. In an

email on August 15, 2019, Burrell informed Griesing Law that the only purpose of the meeting

was to introduce a new Kleinbard attorney to the client and that no substantive matters would be

discussed. Griesing Law then declined to attend the meeting since it was administrative in nature

only.

        80.    Despite assurances that it would include Griesing Law in any work related to the

OGC Kleinbard Project, Kleinbard continued to perpetuate its scheme to cut Griesing Law out of

the legal services, work experience, and legal fees and discriminate against Griesing Law on the




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basis of its women-owned status in violation of its contractual obligations.

       81.     During the period July 2019 through April 2022, Griesing Law followed up with

Kleinbard attorney Burrell not less than six (6) times regarding any additional work being assigned

under the OGC Kleinbard Project and each message was either flatly ignored or a vague non-

response was given.

       82.     In or about May 2022, Griesing Law again sought the assistance of BDISBO

through Burwell regarding the OGC Kleinbard Project. On or about June 3, 2022, Burwell

informed Griesing Law that he had contacted Kleinbard but that Kleinbard failed to respond to

him.

       83.     After contacting the Commonwealth OGC directly for assistance in or around June

2022, Griesing Law recently learned that Kleinbard had been paid at least $125,000 on RFP OGC-

2016-22, to which Griesing Law was entitled at least 20% based upon the Letter of Intent.

                   Kleinbard Continues to Conceal Other Awarded Work

       84.     Griesing Law recently learned from the Commonwealth OGC that OGC entered

two additional agreements with Kleinbard relating to the OGC Kleinbard Project, both of which

required Kleinbard to provide Griesing Law the opportunity to share in a minimum 20% of the

work and 20% of the fees.

       85.     Kleinbard never notified Griesing Law of these two contracts, and Griesing Law

first learned about them and received copies from the Commonwealth on August 11, 2022. The

first contract is dated December 11, 2019 and the second contract is dated March 1, 2020. These

contracts were entered during the interval when Kleinbard insisted that no work was proceeding

on the OGC Kleinbard Project. During this interval, Kleinbard was assuring Griesing Law that

when the OGC Kleinbard Project resumed, Kleinbard would give Griesing Law the opportunity to



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provide legal services to meet the 20% minimum requirement and receive the attendant fees

including enough work so that Kleinbard could make up for the deficit in allocation of work in the

earlier phases.

          86.     The December 11, 2019 Contract for Legal Services between OGC and Kleinbard

(the “December 2019 OGC Kleinbard Contract”) was issued pursuant to OGC-2019-CLLC-23,

and was signed on the same date that the OGC issued its RFP appointments pursuant to two RFPs,

OGC-2019-10 and OGC-2019-13 relating to Complex Litigation and Legal Services. Upon

information and belief, the two RFPs were consolidated into RFP OGC-2019-10/13 and under

contract number OGC-2019-CLLC-23. The appointment memorandum specifically states that:

                  Kleinbard LLC is committed to subcontracting with one (1) small diverse firm,
                  Griesing Law, LLC, for legal services over the entire engagement timeframe.
                  Kleinbard, LLC is committing 20% of the total value of its offering to Griesing
                  Law, LLC. (Emphasis in original.)

          87.     The December 2019 OGC Kleinbard Contract expressly provided, among other

things:

                  28.    Compliance with Small Diverse Business Requirements. Commitments to
                  Small Diverse Businesses made at the time of the proposal submittal or contract
                  negotiation must be maintained by the Law Firm throughout the term of the
                  Contract. Any proposed change must be submitted to the [DGS, BDISBO], which
                  will make a recommendation as to a course of action to the [OGC]. …

          88.     BDISBO and OGC have informed Griesing Law that Kleinbard did not make a

request to change or deviate from its commitment to Griesing Law for 20% participation and

neither BDISBO or OGC approved any change or deviation.

          89.     Paragraph 28 of the December 2019 OGC Kleinbard Contract also required

Kleinbard to “complete the Prime Contractor’s Quarterly Utilization Report or a similar document

and submit the report to OGC and DGS, BDISBO within ten working days of the end of each

quarter” the December 2019 OGC Kleinbard Contract is in effect. Griesing Law was unable to



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find a record of such reports being filed on the PRiSM system.

       90.     On March 1, 2020, OGC and Kleinbard entered an engagement letter flowing from

OGC-2019-23 and the December 2019 OGC Kleinbard Contract, whereby the OGC engaged

Kleinbard to provide additional services on the OGC Kleinbard Project to begin immediately (the

“March 1 OGC Kleinbard Engagement Letter”). The March 1, 2020 OGC Kleinbard Engagement

Letter incorporated by reference the December 2019 OGC Kleinbard Contract, which in turn

mandated that Kleinbard comply with the SDB commitment to Griesing Law.

       91.     Kleinbard concealed the December 2019 OGC Kleinbard Contract and the March

1 OGC Kleinbard Engagement Letter from Griesing Law, perpetuating its continuing

misrepresentation that the OGC Kleinbard Project was on hold and that there was not ongoing

work in which Griesing Law could participate.

       92.     Griesing Law recently became aware that Kleinbard had received fees pursuant to

the December 2019 OCG Kleinbard Contract of at least $138,000.00 of which Griesing Law is

owed 20% or $27,600, plus interest from the time payment was made to Kleinbard. This

information is not ascertainable from any public source and was provided to Griesing Law by OGC

on August 2, 2022.

       93.     Griesing Law was recently informed by the Commonwealth OGC that the OGC

had assigned work to Kleinbard pursuant to OGC-2016-09 and that OGC and Kleinbard entered

into Contract No. OGC-2019-CLLC-23 (the “Second OGC Kleinbard Contract”), and that

Kleinbard received at least $85,000 for legal services thereunder. OGC confirmed that as the SDB

contractor Griesing Law should have been afforded the opportunity to perform at least 20% of the

work and received at least 20% of the fees or more commensurate with the work and is owed at

least $17,000, plus interest at 6% since the time of payment to Kleinbard.




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       94.     In connection with each Letter of Intent between Griesing Law and Kleinbard,

Griesing Law provided Kleinbard with materials reflecting Griesing Law’s experience and

qualifications to perform legal services outlined in each OGC RFP even though under the

Commonwealth’s RFP program, only the prime firm needed to have the requisite experience and

qualifications to meet the technical requirements of an RFP.

       95.     At all relevant times, Griesing Law repeatedly informed Kleinbard that it was

ready, willing and able to meaningfully participate in any awarded work and that it had the

qualifications and expertise to participate fully.

        Kleinbard Deliberately Fails to Respond to Griesing Law, BDISBO or OGC


       96.     Despite Burrell’s representation to Ms. Griesing, Kleinbard never contacted

Griesing Law to perform work under any of the Letters of Intent or the Commonwealth OGC

contracts which Kleinbard signed committing to the Commonwealth that Kleinbard would provide

Griesing Law as the SDB the opportunity to participate in the legal services work.

       97.     Ms. Griesing followed up with Kleinbard Attorney Burrell by email to inquire about

whether there was any work that Griesing Law could perform on the purportedly deferred OGC

Kleinbard Project or under the Second Letter of Intent, which Griesing Law later learned from

OGC had led to a Second OGC Kleinbard Contract.

       98.     On March 10, 2022, Ms. Griesing contacted Kleinbard Attorney Burrell about the

OCG Kleinbard Project as well as OGC-2021-09 (relating to Bedivere Insurance Company

Receivership Estate Counsel).

       99.     On March 14, 2022, Ms. Griesing received the following response from Burrell:

“Have confirmed no work has been assigned on the Bedivere matter. I will check with the state to

get update. Will connect on [OGC Kleinbard Project] as soon as I get internal update. GRB.”



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       100.    Ms. Griesing followed up by email to Burrell on March 31 and April 27, but did

not receive a further response.

       101.    During this period, Griesing Law was in contact with BDISBO representative

Burwell to enlist BDISBO’s assistance in assuring that Kleinbard comply with its contractual

requirements to the Commonwealth and to Griesing Law with respect to the OCG Kleinbard

Project. Burwell informed Griesing Law that he contacted Kleinbard about these issues and that

no one from Kleinbard had responded to him. Burwell requested that he be copied on any demand

letter to Kleinbard from Griesing Law.

       102.    By letter dated June 3, 2022, Griesing wrote to Kleinbard Attorneys Burrell and

Steven J. Engelmyer, who had signed First Letter of Intent on behalf of Kleinbard, and sent a copy

to Burwell. The letter outlined the many prior communications and requested payment of the

amounts Griesing Law then knew were due under the OGC Kleinbard Contract and requesting

documents reflecting all payments to Kleinbard so that Griesing Law could determine the amounts

owed to it. A true and correct copy of the June 3, 2022 letter is attached hereto as Exhibit “K” and

incorporated by reference as if fully set forth herein.

       103.    Among other things, the June 2, 2022 letter stated:

               Plainly, as a law firm, you are required to maintain current time records and bills to
               the Commonwealth that should reflect the work performed on the [OCG Kleinbard
               Project]. We can only surmise that you have failed to respond to me because you
               are aware that Kleinbard did not afford Griesing the opportunity to do the work as
               agreed and that you received and retained fees to which our firm was entitled.

       104.    The letter requested a response by June 10, 2022; Griesing Law never received a

response from Kleinbard.

       105.    On June 27, 2022, Griesing Law wrote to the OGC, to Commonwealth General

Counsel Gregory G. Schwab and Deputy General Counsel Rodney R. Akers about Kleinbard’s

failure to honor its SDB obligations to Griesing Law and situations in which it appeared that other


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prime contractor law firms had breached their contracts with the Commonwealth and Griesing

Law as to SDB participation. A true and correct copy of the June 27, 2022 letter is attached hereto

as Exhibit “L” and incorporated by reference as if fully set forth herein.

       106.      Since June 27, 2022, OGC informed Griesing that OGC was still gathering

responsive information, but that OGC determined that Griesing Law had received only about 4%

of the at least $138,000 in fees Kleinbard had received for the OGC Kleinbard Project and that

Kleinbard owed Griesing Law 20% of at least an additional $85,000 paid to Kleinbard.

       107.      By letter dated August 2, 2022, Commonwealth General Counsel wrote to

Kleinbard Attorney Burrell and copied Kleinbard Attorney Hyman, confirming that Kleinbard

received $138,000 for legal services on the OGC Kleinbard Project and requesting that Kleinbard

confirm to OGC by August 5, 2022, the amount of fees paid to Griesing as the SDB subcontractor

on that matter. A true and correct copy of the August 2, 2022 letter is attached hereto as Exhibit

“M” and incorporated by reference as if fully set forth herein.

       108.      As of the date of the filing of this Complaint, and to Griesing Law’s information

and knowledge, Kleinbard had not responded to the OGC’s August 2, 2022 letter.

       109.      In an effort to resolve these disputes without the need for litigation, Griesing Law,

through the OGC office, sent a tolling agreement to Kleinbard on or about August 10, 2022 seeking

execution of the agreement while the parties worked out these issues. Kleinbard never responded

to the email from OGC.

       110.      Kleinbard’s persistent refusal to respond to Griesing Law, BDISBO or OGC

reflects their intentional disregard for and defiance of their contractual obligations to the OGC, to

which Griesing Law is an intended third party beneficiary, and to Griesing Law as their SDB

subcontractor.




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       111.      This is consistent with the hubris of Kleinbard and its attorneys in repeatedly

reminding Griesing Law that Burrell and Kleinbard have “special” and “close” relationships with

the Governor and other high level elected and administration officials in Harrisburg and across the

Commonwealth. Kleinbard’s intentional misrepresentations to Griesing Law and its blatant

disregard of communications from BDISBO and OGC is consistent with the message they

conveyed to Griesing Law by their words and conduct: Kleinbard is so politically connected in

Pennsylvania that they do not have to follow the rules or honor their contracts and no consequences

will flow if they continue to breach their obligations.

       112.      This action is brought to recover for the intentional harm Kleinbard inflicted on

Griesing Law and to assure that Kleinbard faces serious consequences for its actions and that other

prime contractors in the Commonwealth are deterred from cheating SDB subcontractors as

Kleinbard has done to Griesing Law.

                                       Harm to Griesing Law
       113.      The Commonwealth PRiSM system is intended to track payments to prime

contractors and to subcontractors under Commonwealth RFPs and contracts including those issued

by OCG.

       114.      Unfortunately, the PRiSM system is not complete, accurate or current, and the OGC

must consult multiple sources within the Commonwealth to confirm the total paid to any prime

contractor on an OGC contract.

       115.      The Commonwealth does not pay subcontractors directly, the Commonwealth pays

the prime contractor which is charged with submitting bills on its own behalf and on behalf of any

subcontractors.

       116.      Once the prime is paid by the Commonwealth, it is required to pay any

subcontractor.


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       117.    The Commonwealth is also supposed to be able to rely on the quarterly PRiSM

submissions by primes tracking payments to subcontractors, but primes such as Kleinbard do not

always comply with the reporting requirements.

       118.    The Commonwealth has informed Griesing Law that it is endeavoring to determine

the total amount paid to Kleinbard on OGC contracts for which Griesing Law is the designated

subcontractor, but as of commencement of this action, that process is not complete.

       119.    Upon information and belief, Kleinbard has received fees from the Commonwealth

substantially in excess of the amounts the OGC has tracked so far and Griesing Law is entitled to

at least 20% of the total fees paid to Kleinbard.

       120.    In addition, as a direct result of Kleinbard withholding work from Griesing Law,

the Firm has been deprived of significant opportunities to develop and enhance its experience in

representing the Commonwealth and in the underlying subject matter that was involved in the

OGC Kleinbard Project and in any other work that Kleinbard withheld from Griesing Law.

       121.    The damages flowing from this lost opportunity to develop and enhance its

experience has caused Griesing Law to suffer substantial consequential damages far in excess of

the amount of fees that Kleinbard intentionally withheld from Griesing Law.

       122.    For example, many of the OGC RFPs call for experience working with the specific

Commonwealth agency issuing the RFP in addition to substantive experience in a particular area

of law or in a particular forum. By depriving Griesing Law of its fair share of the work under

awarded contracts for which Griesing Law was or is the designated SDB subcontractor, Kleinbard

put Griesing Law at a disadvantage in the OGC RFP process as Griesing Law refrained from

submitting as a prime on certain OGC RFPs because the Firm did not specifically have fulsome




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experience handling certain types of matters for the Commonwealth.

       123.    Further, even if a firm is selected as a prime under an OGC RFP, there is no

guarantee that the firm will actually be assigned work thereunder. The OGC has discretion in

determining whether to assign work to a particular prime law firm especially when more than one

firm if selected under an RFP.

       124.    By denying Griesing Law of the contractually mandated participation in

Commonwealth work, Kleinbard deprived the Firm of showcasing its abilities to the OGC and

negatively impacted the likelihood that Griesing Law would be assigned work as a prime law firm

compared to other prime firms that had been selected pursuant to an OGC RFP.

       125.    In addition, by depriving Griesing Law of the contractually mandated participation

in Commonwealth work, Kleinbard deprived the Firm of developing or enhancing the Firm’s

experience, which the Firm could have used to attract other clients resulting in additional

substantial loss to Griesing Law.

                                       COUNT I
        Breach of Contract—Letters of Intent between Griesing Law and Kleinbard

       126.    Paragraphs 1 through 125 are incorporated herein by reference.

       127.    The Letters of Intent between Griesing Law and Kleinbard constitute valid and

binding contracts between the parties.

       128.    Through Kleinbard’s acts and omissions, as described above, Kleinbard materially

breached the contracts.

       129.    Specifically, Kleinbard failed to provide Griesing Law the opportunity to perform

legal services for at least the contractually agreed 20% of the work performed under OGC contracts

and failed to pay Griesing Law at least the contractually agreed 20% of the fees. Kleinbard was




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not excused from these obligations by DGS, BDISBO, OGC or any other authorized agent of the

Commonwealth.

        130.      At all relevant times, Griesing Law was ready, willing and able to perform under

the Letters of Intent and the OGC Contracts.

        131.      Kleinbard’s breaches of contract under the Letters of Intent caused damage to

Plaintiffs.

        132.      The precise extent of Griesing Law’s damages is unknown to Griesing Law because

it does not know the extent of the contracts awarded to Kleinbard based on Griesing Law’s support,

how much Kleinbard has been paid by the Commonwealth of Pennsylvania pursuant to contracts

for which Griesing Law was the subcontractor and therefore entitled to 20% of the fees.

        WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, a legal accounting, and/or such other relief as the Court

may deem just and proper.

                                             COUNT II

                 Breach of Contract—Griesing Law as Third-Party Beneficiary to
                  OGC Contracts and March 1 Engagement Letter Between the
                         Commonwealth of Pennsylvania and Kleinbard

        133.      Paragraphs 1 through 132 are incorporated herein by reference.

        134.      The contracts between OGC and Kleinbard referenced in the Complaint and the

March 1 Engagement Letter constitute valid and binding contracts between the Commonwealth

OGC and Kleinbard.

        135.      Griesing Law was an intended third party beneficiary of the OGC Contracts and

the March 1 Engagement Letter.



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       136.    Through Kleinbard’s acts and omissions, as described above, Kleinbard materially

breached the contracts.

       137.    Specifically, Kleinbard failed to provide Griesing Law the opportunity to perform

legal services for at least the contractually agreed 20% of the work performed under OGC contracts

and failed to pay Griesing Law at least the contractually agreed 20% of the fees. Kleinbard was

not excused from these obligations by DGS, BDISBO, OGC or any other authorized agent of the

Commonwealth.

       138.    At all relevant times, Griesing Law was ready, willing and able to perform under

the Letters of Intent and the OGC Contracts.

       139.    Kleinbard’s breaches of contract under the Letters of Intent and related OGC

Contracts and March 1 Engagement Letter caused damage to Griesing Law as the intended third-

party beneficiary.

       140.    The precise extent of Griesing Law’s damages is unknown to Griesing Law because

it does not know the extent of the contracts awarded to Kleinbard based on Griesing Law’s support,

how much Kleinbard has been paid by the Commonwealth of Pennsylvania pursuant to contracts

for which Griesing Law was the subcontractor and therefore entitled to 20% of the fees..

       WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, a legal accounting, and/or such other relief as the Court

may deem just and proper.




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                                         COUNT III
              Unjust Enrichment (Quantum Meruit)—Kleinbard’s Inducement of
                     Griesing Law to Offer its Services as a Subcontractor

       141.     Paragraphs 1 through 140 are incorporated herein by reference.

       142.     Kleinbard repeatedly requested that Griesing Law provide its services as a

subcontractor in connection to the contracts between the OGC and Kleinbard. Griesing Law

conferred a benefit on Kleinbard by agreeing to provide its services as a subcontractor because,

without a SDB subcontractor, Kleinbard would not have received the OGC contracts.

       143.     Griesing Law is entitled to the reasonable value of its services provided to

Kleinbard or which Griesing Law was ready, willing and able to provide and were denied the

opportunity to provide due to Kleinbard’s wrongdoing.

       144.     Kleinbard has failed to pay Griesing Law in connection with its agreement to serve

as the SDB subcontractor on Kleinbard’s contracts with the OGC. It would be inequitable and

unjust to allow Kleinbard to retain the monetary benefits of the OGC contracts awarded without

paying Griesing Law it 20% share of the fees.

       WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, a legal accounting, and/or such other relief as the Court

may deem just and proper.

                                          COUNT IV
                     Tortious Interference with Contractual Relations and
                               Prospective Contractual Relations

       145.     Paragraphs 1 through 144 are incorporated herein by reference.

       146.     Kleinbard’s actions in concealing from Griesing Law the award of work by the

OGC pursuant to RFPs in which Griesing Law was the designated SDB subcontractor and


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depriving Griesing Law of that opportunity, prevented Griesing Law from enhancing its reputation

with the Commonwealth and particularly with OGC.

          147.   Further, Kleinbard’s misrepresentation to Burwell at BDISBO that Griesing Law

was not ready, willing or able to perform under the subcontract reflected on Griesing Law’s

reputation with decision makers at the Commonwealth charged with overseeing the procurement

process and compliance with the SDB requirements.

          148.   Kleinbard’s actions negatively impacted the likelihood that Griesing Law would be

selected as a prime contractor pursuant to RFPs and whether, even if selected as a prime, Griesing

Law would actually be awarded any contracts and assigned any work.

          149.   Despite Griesing Law’s qualifications, the OGC has declined to select Griesing

Law has a prime contractor in connection the OGC’s RFP process as a proximate result of

Kleinbard’s misstatements to the OGC regarding Griesing Law’s ability and willingness to

perform as an SDB subcontractor.

          150.   At all relevant times, Kleinbard and its agents acted outrageously, willfully,

wantonly, and/or recklessly in connection to its misrepresentations regarding Griesing Law’s

willingness and ability to provide legal services to the OGC. Kleinbard’s actions were done with

bad motive or a reckless indifference to Griesing Law’s interest in having a strong reputation with

the OGC.

          WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, and/or such other relief as the Court may deem just and

proper.




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                                       COUNT V
                     Fraudulent Misrepresentation and/or Concealment

       151.    Paragraphs 1 through 150 are incorporated herein by reference.
       152.    Kleinbard made misrepresentations to, and/or concealed facts from Griesing Law

that were material to Griesing Law’s entry into the Letters of Intent and were material to the OGC’s

decision to appoint Kleinbard to perform legal services for the Commonwealth. Kleinbard’s

misrepresentations and/ or material omissions include the conduct outlined in Paragraphs 25, 56,

67, 81, 91, 96, 99, and 111 which Griesing Law incorporates herein by reference.

       153.    Specifically, in April of 2019, Kleinbard Attorney Burrell represented to Griesing

Law that Kleinbard would assign Griesing Law 20% of the OCG Kleinbard Project work, when

Kleinbard never intended to do so and, in fact, Kleinbard intended to conceal from Griesing Law

the fact that it had been awarded additional work and additional contracts based upon Griesing

Law’s support in the RFP process.

       154.    Burrell and other Kleinbard attorneys made similar misrepresentations to Griesing

Law throughout 2019, 2020 and into 2022. Further, throughout that time, they continued to

conceal from Griesing Law that they had obtained additional work and additional contracts from

OCG based upon Griesing Law’s support in the RFP process.

       155.    Kleinbard’s misrepresentations were made expressly to induce Griesing Law’s

“continued participation as co-counsel.”      However, Kleinbard never intended to honor its

commitment to Griesing Law.

       156.    These misrepresentations and/ or omissions were false, material, and made by

Kleinbard with knowledge of their falsity or recklessness as to whether they were true or false.

       157.    Kleinbard made these misrepresentations and/ or omissions with the intent of

Griesing Law relying on them, and Griesing Law did in fact justifiably rely on them. If Griesing



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Law had known that Kleinbard was receiving work from OGC and not sharing it, was receiving

payments from OGC and not paying it, and was receiving additional contracts from OGC and not

notifying Griesing Law, Griesing Law would not have continued to participate with Kleinbard on

additional RFPs, among other things detrimental to Griesing Law.

          158.   These fraudulent misrepresentations and/ or omissions were the proximate

causation of the damages suffered by Plaintiffs.

          159.   At all relevant times, Kleinbard and its agents acted outrageously, willfully,

wantonly, and/or recklessly in connection to its misrepresentations regarding its intent to assign

Griesing Law work as the SDB subcontractor on the OGC contracts. Kleinbard’s actions were

done with bad motive or a reckless indifference to Griesing Law’s interest in having a strong

reputation with the OGC.

          WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, and/or such other relief as the Court may deem just and

proper.

                                          COUNT IV
                        Negligent Misrepresentation and/or Concealment

          160.   Paragraphs 1 through 159 are incorporated herein by reference.

          161.   As detailed above, Kleinbard made misrepresentations to and/or concealed facts

from Griesing Law that were material to Griesing Law’s entry into the Letters of Intent where

Kleinbard should have known of the falsity. Kleinbard’s misrepresentations and/or material

omissions include, but are not limited to, the conduct outlined in Paragraphs 25, 56, 67, 81, 96, 91,

99, and 111, which Griesing Law incorporate herein by reference.




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          162.   Kleinbard made these misrepresentations and/or omissions with the intent to induce

Griesing Law to act upon them, which resulted in injury to Griesing Law acting in justifiable

reliance on the misrepresentations and/or omissions.

          WHEREFORE, Griesing Law demands judgment in its favor and against Kleinbard for

all compensatory, consequential and incidental damages in an amount in excess of $75,000,

interest, punitive damages, attorneys’ fees, and/or such other relief as the Court may deem just and

proper.



Dated: August 18, 2022                        Respectfully submitted,

                                              GRIESING LAW, LLC


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